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         EXHIBIT I
  Meet and Confer Email Discussions
         Case 1:24-cv-10049-LJL                        Document 203-9                      Filed 05/09/25                 Page 2 of 8


From:              Bruno, Matthew
To:                Kevin A. Fritz
Cc:                Hudson, Esra; Roeser, Stephanie; Gottlieb, Michael; Governski, Meryl Conant; Bender, Kristin; Nathan, Aaron E.; Connolly, Michaela;
                   Taustine, Melissa; Sigrid McCawley; Lindsey Ruff; Andrew Villacastin; cbabcock@jw.com; cbutzer@jw.com; jglover@jw.com;
                   katebolger@dwt.com; samcategumpert@dwt.com; Nicholas Inns; maarenchoksi@quinnemanuel.com; kristintahler@quinnemanuel.com;
                   anthony@umklaw.com; matthew@umklaw.com; Summer Benson; Climaco, Katelyn; Stacey Ashby; Mitch Schuster; Amit Shertzer; Vaneta
                   Birtha; Miles Cooley; Cortni Davis; Bryan Freedman; Jose Perez; Jason Sunshine; Theresa Troupson
Subject:           RE: Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL - 4/24 M&C
Date:              Thursday, May 1, 2025 11:50:00 AM
Attachments:       image002.png
                   image001.png



Kevin:

In your email below, you state: “the Wayfarer Parties will produce non-privileged documents concerning their
damages.” We never agreed that this was an “acceptable manner of proceeding” and it is not clear from your
email whether the Wayfarer Parties intend to produce documents responsive to the financial Requests
identified in my April 28 email (specifically, Request Nos. 58 and 59 as to Baldoni, Heath and Sarowitz; Request
Nos. 46 and 47 as to Abel and Nathan; Request Nos. 73 and 74 as to Wayfarer and IEWU; and Request Nos. 49
and 50 as to TAG). Based on our conferral and your email, we understand the Wayfarer Parties’ position to be
that they intend to stand on their objections and will not produce the materials requested in these Requests.
 We will proceed accordingly.

Separately, we understand your email below to amend the Wayfarer Parties’ prior objections and to confirm
their agreement to conduct a reasonable search for and produce all non-privileged documents responsive to the
Requests identified in Schedule A to Ms. Lively’s April 15, 2025 Deficiency Letter.

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Matt

Matthew F. Bruno
Partner


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New York, NY 10036
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MBruno@manatt.com


manatt.com




From: Kevin A. Fritz <kaf@msf-law.com>
Sent: Wednesday, April 30, 2025 11:41 AM
To: Bruno, Matthew <MBruno@manatt.com>
Cc: Hudson, Esra <EHudson@manatt.com>; Roeser, Stephanie <SRoeser@manatt.com>; Gottlieb, Michael
<MGottlieb@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; Bender, Kristin
<KBender@willkie.com>; Nathan, Aaron E. <ANathan@willkie.com>; Connolly, Michaela <MConnolly@willkie.com>;
Taustine, Melissa <MTaustine@willkie.com>; Sigrid McCawley <smccawley@bsfllp.com>; Lindsey Ruff
<LRuff@BSFLLP.com>; Andrew Villacastin <AVillacastin@BSFLLP.com>; cbabcock@jw.com; cbutzer@jw.com;
jglover@jw.com; katebolger@dwt.com; samcategumpert@dwt.com; Nicholas Inns
<nicholasinns@quinnemanuel.com>; maarenchoksi@quinnemanuel.com; kristintahler@quinnemanuel.com;
anthony@umklaw.com; matthew@umklaw.com; Summer Benson <sbenson@lftcllp.com>; Climaco, Katelyn
<KClimaco@manatt.com>; Stacey Ashby <sma@msf-law.com>; Mitch Schuster <ms@msf-law.com>; Amit Shertzer
<as@msf-law.com>; Vaneta Birtha <vbirtha@lftcllp.com>; Miles Cooley <mcooley@lftcllp.com>; Cortni Davis
<cdavis@lftcllp.com>; Bryan Freedman <bfreedman@lftcllp.com>; Jose Perez <jperez@lftcllp.com>; Jason Sunshine
        Case 1:24-cv-10049-LJL                              Document 203-9                      Filed 05/09/25                  Page 3 of 8


<jsunshine@lftcllp.com>; Theresa Troupson <ttroupson@lftcllp.com>
Subject: RE: Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL - 4/24 M&C


[EXTERNAL] Please do not reply, click links, or open attachments unless you recognize the source of this message and know
the content is safe.




Matt:

Please see my responses in red and bold.




Kevin A. Fritz
Partner
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Direct (212) 655-3570 | Firm (212) 655-3500 | Fax (646) 564-4819 | kaf@msf-law.com
New York | New Jersey | Connecticut | California | Website
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advice contained herein was not written or intended to be used (and cannot be used) by any taxpayer for the purpose of avoiding penalties that may be
imposed under the U.S. Internal Revenue Code.


From: Bruno, Matthew <MBruno@manatt.com>
Sent: Monday, April 28, 2025 6:13 PM
To: Summer Benson <sbenson@lftcllp.com>; Climaco, Katelyn <KClimaco@manatt.com>; Stacey Ashby <sma@msf-
law.com>; Kevin A. Fritz <kaf@msf-law.com>; Mitch Schuster <ms@msf-law.com>; Amit Shertzer <as@msf-law.com>;
Vaneta Birtha <vbirtha@lftcllp.com>; Miles Cooley <mcooley@lftcllp.com>; Cortni Davis <cdavis@lftcllp.com>; Bryan
Freedman <bfreedman@lftcllp.com>; Jose Perez <jperez@lftcllp.com>; Jason Sunshine <jsunshine@lftcllp.com>;
Theresa Troupson <ttroupson@lftcllp.com>; Kevin A. Fritz <kaf@msf-law.com>
Cc: Hudson, Esra <EHudson@manatt.com>; Roeser, Stephanie <SRoeser@manatt.com>; Gottlieb, Michael
<MGottlieb@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; Bender, Kristin
<KBender@willkie.com>; Nathan, Aaron E. <ANathan@willkie.com>; Connolly, Michaela <MConnolly@willkie.com>;
Taustine, Melissa <MTaustine@willkie.com>; Sigrid McCawley <smccawley@bsfllp.com>; Lindsey Ruff
<LRuff@BSFLLP.com>; Andrew Villacastin <AVillacastin@BSFLLP.com>; cbabcock@jw.com; cbutzer@jw.com;
jglover@jw.com; katebolger@dwt.com; samcategumpert@dwt.com; Nicholas Inns
<nicholasinns@quinnemanuel.com>; maarenchoksi@quinnemanuel.com; kristintahler@quinnemanuel.com;
anthony@umklaw.com; matthew@umklaw.com
Subject: Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL - 4/24 M&C


    CAUTION: This is an external email. DO NOT click links or open attachments unless you can confirm
    the sender and know the content is safe.


Kevin:

Thank you for a productive meet and confer on Thursday. Below is a summary of our conferral and
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memorialization of the positions taken by the Wayfarer Parties on the call.

Best,

Matt

***

Objections to the Definition of “You”

With respect to the Requests propounded on corporate Defendants Wayfarer Studios LLC (“Wayfarer”),
It Ends With Us Movie LLC (“IEWU”), and The Agency Group PR LLC (“TAG” and, with Wayfarer and IEWU,
the “Corporate Defendants”), you confirmed that they will not limit their responses solely to the
corporate entities themselves, but instead interpret the definition of “You” to include the Corporate
Defendants’ officers, directors, employees, partners, corporate parent, subsidiaries and affiliates, as
required by Local Rule 26.3(c)(5). The Wayfarer Parties agree to comply with Local Rule 26.3(c)(5).

General, Boilerplate, Objections and Production of Documents “Sufficient to Satisfy” a Request

The Wayfarer Parties agreed that they will not withhold non-privileged documents and information based
upon general, boilerplate, objections, and Ms. Lively and Mr. Reynolds agreed to the same. The Wayfarer
Parties further agreed that, where the Wayfarer Parties have agreed to produce documents, they will
produce all responsive, non-privileged documents—they will not unilaterally cabin their production to
documents “sufficient to satisfy” the Request at issue. The Wayfarer Parties will conduct a
reasonable search for and produce relevant, non-privileged documents.

The Wayfarer Parties’ Requests to Meet and Confer – Schedule A to Ms. Lively’s Deficiency Letter

We had requested clarification of the Wayfarer Parties’ position regarding more than 30 Requests
detailed in Schedule A to Ms. Lively’s April 15, 2025 letter (“Schedule A”), attached hereto, pursuant to
which the Wayfarer Parties indicated only that they were willing to meet and confer. The Wayfarer Parties
confirmed that they will conduct a reasonable search for and produce non-privileged documents and
information responsive to the Requests identified in Schedule A. Accordingly, we ask that the Wayfarer
Parties amend their responses and objections to reflect their position as to these Requests. The
Wayfarer Parties will conduct a reasonable search for and produce relevant, non-privileged
documents responsive to the items in Schedule A.

The Wayfarer Parties’ Refusals to Produce – Schedule B to Ms. Lively’s Deficiency Letter

The Wayfarer Parties withdrew their objections as to Request No. 61 propounded upon Mr. Baldoni, and
have agreed to search for and produce all non-privileged documents and information responsive to this
request. Accordingly, we ask that Mr. Baldoni amend his responses and objections to reflect his
position as to this Request. The Wayfarer Parties will conduct a reasonable search for and produce
relevant, non-privileged documents responsive to Request No. 61.

The Wayfarer Parties object to Request Nos. 45-48 as to Baldoni, Wayfarer, IEWU, Heath and Sarowitz
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and Request Nos. 33-36 as to Abel, Nathan, and TAG, on overbreadth and proportionality grounds, and
will not search for or produce documents or information responsive to these requests. The Wayfarer
Parties further indicated these requests are duplicative of requests made by Ms. Lively that concern the
Digital Campaign, which the Wayfarer Parties have agreed to search for and produce non-privileged
documents responsive to. Please specify which Request or Requests you are referring to for the
proposition that these Requests are duplicative of others. Requests Nos. 38 – 44. Additionally, we
agreed to consider whether any narrowing or ambiguity is appropriate with respect to these Requests,
and will follow up separately.

The Wayfarer Parties object to Request Nos. 58 and 59 as to Baldoni, Heath and Sarowitz, Request Nos.
46 and 47 as to Abel and Nathan, Request Nos. 73 and 74 as to Wayfarer and IEWU, and Request Nos. 49
and 50 as to TAG, based on the scope of the Requests and will not search for or produce documents or
information responsive to this request. We requested your legal basis for withholding documents in
response to Requests that bear directly on the Wayfarer Parties’ alleged damages, including but not
limited to alleged compensatory damages of or exceeding $400M. You stated that the basis for the
Wayfarer Parties’ damages amount was “scope,” but failed to otherwise explain how the “scope” of
these Requests justifies your outright refusal to produce any responsive documents. Your response that
you “don’t know” what documents support the Wayfarer Parties’ alleged hundreds of millions of dollars
in damages is insufficient to overcome your obligation to produce documents in response to these
requests. The financial information sought in these requests is unquestionably relevant to the Wayfarer
Parties’ defamation, extortion and tortious interference claims against both Ms. Lively and Mr. Reynolds.
 Accordingly, Ms. Lively and Mr. Reynolds are entitled to understand the financial harm they are alleged to
have caused. Indeed, the financial information sought is the exact sort that courts deem relevant in
cases such as this. See, e.g., Sullivan v. Aircraft Servs. Grp., Inc., 2021 WL 11703007, at *3 (E.D.N.Y. Nov.
29, 2021) (compelling production of financial statements and tax returns in action alleging intentional
interference with contract and with advantageous business relationships). The Requests are also
narrowly tailored both in time and in the content sought. Please advise if the Wayfarer Parties are
willing to reconsider their position and will produce the requested information. Your recitation of
the conversation is incorrect and incomplete. When asked to explain the relevancy of the
categories of documents sought by these Requests, you replied “damages”. You failed to explain,
because you cannot explain, how documents concerning “net worth” or “liquidation of assets” are
relevant to the damages incurred by the Wayfarer Parties. Furthermore, I advised you that the
Wayfarer Parties will produce non-privileged documents concerning their damages. I further
advised you that, if upon receiving such documents you believed that additional documents should
be produced, you should notify us of that position. You agreed that was an acceptable manner of
proceeding.

The Wayfarer Parties object to Request No. 60 propounded upon Mr. Baldoni, and will not search for or
produce documents or information responsive to this Request. Request No. 60 seeks information
regarding Mr. Baldoni’s asserted neurodivergent conditions, which he admits he has communicated
about in connection with Ms. Lively’s allegations and has relied on to explain his alleged sexual
harassment, retaliation, other inappropriate behavior on the set of It Ends With Us. (See ECF No. 84 ¶
188 & n.27; ECF No. 147 ¶ 188.) This information is demonstrably relevant to Ms. Lively’s claims,
including but not limited to her claims of sexual harassment and retaliation in violation of Title VII,
California’s Fair Employment and Housing Act and the California Labor Code, and the Wayfarer Parties’
argument otherwise, without support, does not relieve them of their obligation to produce responsive,
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non-privileged documents. It is also relevant to Mr. Baldoni’s alleged conduct in influencing the public
narrative regarding his conduct on the set of the Film at her expense. Please advise if the Wayfarer
Parties are willing to reconsider their position. . Your recitation of the conversation is incorrect and
incomplete. When asked to explain the relevancy of the health-related documents sought by
Request No. 60, you replied “It’s in the discovery.” I then asked you to what discovery you were
referring, and at point you realized that (1) no discovery has been exchanged between the parties in
this action; and (2) you should not have referred to the discovery that your firm obtained through the
New York state court action in which, from our viewpoint, you purposely omitted Lively as the
plaintiff (and listed her company Vanzan as the plaintiff) and purposely omitted one or more of the
Wayfarer Parties as defendants so that (a) no one would know that Lively had, in essence,
commenced a lawsuit and (b) the Wayfarer Parties would not receive notice that Vanzan (i.e. Lively)
had served a subpoena. In an effort to retreat from your reference to such discovery, your
colleague Michaela then referred to Lively’s allegations on page 60 of her Amended Complaint.
However, paragraph 188 of page 60 (which you cite above) purports to quote from a text message
that appears to have been obtained by your firm in response to the “Vanzan” subpoena. In other
words, both you and Michaela were referring to the same discovery that your obtained without
notice to the Wayfarer Parties. If your firm wants to explain to the Court how your firm obtained
information concerning Baldoni’s purported medical condition and attempt to explain how it is
relevant to Lively’s claims, we welcome the opportunity to respond thereto.


Matthew F. Bruno
Partner


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From: Bruno, Matthew
Sent: Monday, April 21, 2025 6:48 PM
To: Summer Benson <sbenson@lftcllp.com>; Climaco, Katelyn <KClimaco@manatt.com>; Stacey Ashby <sma@msf-
law.com>; Local KAF. Counsel <kaf@msf-law.com>; Local MS. Counsel <ms@msf-law.com>; Amit Shertzer <as@msf-
law.com>; Vaneta Birtha <vbirtha@lftcllp.com>; Miles Cooley <mcooley@lftcllp.com>; Cortni Davis
<cdavis@lftcllp.com>; Bryan Freedman <bfreedman@lftcllp.com>; Jose Perez <jperez@lftcllp.com>; Jason Sunshine
<jsunshine@lftcllp.com>; Theresa Troupson <ttroupson@lftcllp.com>
Cc: Hudson, Esra <EHudson@manatt.com>; Roeser, Stephanie <SRoeser@manatt.com>; Gottlieb, Michael
<MGottlieb@willkie.com>; Governski, Meryl Conant <MGovernski@willkie.com>; Bender, Kristin
<KBender@willkie.com>; Nathan, Aaron E. <ANathan@willkie.com>; Connolly, Michaela <MConnolly@willkie.com>;
Taustine, Melissa <MTaustine@willkie.com>; Sigrid McCawley <smccawley@bsfllp.com>; Lindsey Ruff
<LRuff@BSFLLP.com>; Andrew Villacastin <AVillacastin@BSFLLP.com>; cbabcock@jw.com; cbutzer@jw.com;
jglover@jw.com; katebolger@dwt.com; samcategumpert@dwt.com; Nicholas Inns
<nicholasinns@quinnemanuel.com>; maarenchoksi@quinnemanuel.com; kristintahler@quinnemanuel.com;
anthony@umklaw.com; matthew@umklaw.com
Subject: RE: Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL


Thanks, Summer:
        Case 1:24-cv-10049-LJL                Document 203-9              Filed 05/09/25          Page 7 of 8


Thursday at 2pm (PT) works for us. We will send an invite shortly.

Matt

Matthew F. Bruno
Partner


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From: Summer Benson <sbenson@lftcllp.com>
Sent: Friday, April 18, 2025 5:42 PM
To: Climaco, Katelyn <KClimaco@manatt.com>; Stacey Ashby <sma@msf-law.com>; Local KAF. Counsel <kaf@msf-
law.com>; Local MS. Counsel <ms@msf-law.com>; Amit Shertzer <as@msf-law.com>; Vaneta Birtha
<vbirtha@lftcllp.com>; Miles Cooley <mcooley@lftcllp.com>; Cortni Davis <cdavis@lftcllp.com>; Bryan Freedman
<bfreedman@lftcllp.com>; Jose Perez <jperez@lftcllp.com>; Jason Sunshine <jsunshine@lftcllp.com>; Theresa
Troupson <ttroupson@lftcllp.com>
Cc: Hudson, Esra <EHudson@manatt.com>; Roeser, Stephanie <SRoeser@manatt.com>; Bruno, Matthew
<MBruno@manatt.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; Bender, Kristin <KBender@willkie.com>; Nathan, Aaron E. <ANathan@willkie.com>;
Connolly, Michaela <MConnolly@willkie.com>; Taustine, Melissa <MTaustine@willkie.com>; Sigrid McCawley
<smccawley@bsfllp.com>; Lindsey Ruff <LRuff@BSFLLP.com>; Andrew Villacastin <AVillacastin@BSFLLP.com>;
cbabcock@jw.com; cbutzer@jw.com; jglover@jw.com; katebolger@dwt.com; samcategumpert@dwt.com; Nicholas
Inns <nicholasinns@quinnemanuel.com>; maarenchoksi@quinnemanuel.com; kristintahler@quinnemanuel.com;
anthony@umklaw.com; matthew@umklaw.com
Subject: RE: Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL


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the content is safe.




Katelyn,

We are available to meet and confer next week and propose Wednesday, April 23 at 11am PT. Alternatively, we are also
available on Thursday, April 24 at 2pm PT. Please let us know if either works for you.

Best,

Summer E. Benson, Esq.
LINER FREEDMAN TAITELMAN + COOLEY LLP
1801 Century Park West, 5th Floor
Los Angeles, California 90067
Telephone: (310) 201-0005
Facsimile: (310) 201-0045
Web: www.lftcllp.com

Please note that LFTC’s domain name has changed from FTLLP.com to LFTCLLP.com. Emails sent from this domain are
not spam.
          Case 1:24-cv-10049-LJL                                        Document 203-9                              Filed 05/09/25                        Page 8 of 8



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From: Climaco, Katelyn <KClimaco@manatt.com>
Sent: Tuesday, April 15, 2025 5:39 PM
To: Stacey Ashby <sma@msf-law.com>; Local KAF. Counsel <kaf@msf-law.com>; Local MS. Counsel <ms@msf-
law.com>; Amit Shertzer <as@msf-law.com>; Summer Benson <sbenson@lftcllp.com>; Vaneta Birtha
<vbirtha@lftcllp.com>; Miles Cooley <mcooley@lftcllp.com>; Cortni Davis <cdavis@lftcllp.com>; Bryan Freedman
<bfreedman@lftcllp.com>; Jose Perez <jperez@lftcllp.com>; Jason Sunshine <jsunshine@lftcllp.com>; Theresa
Troupson <ttroupson@lftcllp.com>
Cc: Hudson, Esra <EHudson@manatt.com>; Roeser, Stephanie <SRoeser@manatt.com>; Bruno, Matthew
<MBruno@manatt.com>; Gottlieb, Michael <MGottlieb@willkie.com>; Governski, Meryl Conant
<MGovernski@willkie.com>; Bender, Kristin <KBender@willkie.com>; Nathan, Aaron E. <ANathan@willkie.com>;
Connolly, Michaela <MConnolly@willkie.com>; Taustine, Melissa <MTaustine@willkie.com>; Sigrid McCawley
<smccawley@bsfllp.com>; Lindsey Ruff <LRuff@BSFLLP.com>; Andrew Villacastin <AVillacastin@BSFLLP.com>;
cbabcock@jw.com; cbutzer@jw.com; jglover@jw.com; katebolger@dwt.com; samcategumpert@dwt.com; Nicholas
Inns <nicholasinns@quinnemanuel.com>; maarenchoksi@quinnemanuel.com; kristintahler@quinnemanuel.com;
anthony@umklaw.com; matthew@umklaw.com
Subject: Lively v. Wayfarer Studios LLC, et al., No. 1:24-cv-10049-LJL


Counsel,

Please find attached a deficiency letter concerning the Wayfarer Parties’ responses to Ms. Lively’s first set of
document requests. We are available to meet and confer regarding the issues raised in the letter on Thursday,
April 17th and Friday, April 18th. Please let us know your availability on either of those dates so we can
coordinate a time.

Best,
Katelyn

Katelyn Climaco
(She/Her/Hers)
Associate


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